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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
Shannon Clark                                                    CASE NUMBER

                                                                                  2:21-cv-9247-RGK (MAR)
                                                  PLAINTIFF(S)
                                 v.
Eduardo H. Ruiz Jr.
                                                                            ORDER RE REQUEST TO PROCEED
                                                                                 IN FORMA PAUPERIS
                                                DEFENDANT(S)


IT IS ORDERED that the Request to Proceed In Forma Pauperis
                                                     uperis is hereby
                                                                    byy GRANTED.
                                                               hereeb

           11/30/21
           Date                                                   United
                                                                       d States Magistrate
                                                                                Magistrat Judge


IT IS RECOMMENDED that the Request to Proceed In Forma Pauperis be DENIED for the following reason(s):
                Inadequate showing of indigency                           District Court lacks jurisdiction
                Legally and/or factually patently frivolous               Immunity as to
                Other:


          Comments:




           9/30/21
           Date                                                       United States Magistrate Judge


IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby:
                GRANTED
                DENIED (see comments above). IT IS FURTHER ORDERED that:
                         Plaintiff SHALL PAY THE FILING FEES IN FULL within 30 days or this case will be dismissed.
                         This case is hereby DISMISSED immediately.
                         This case is hereby REMANDED to state court.



           Date                                                       United States District Judge

CV-73 (08/16)                            ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
